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Office of the Clerk
United States Court of Appeals for the Ninth Circuit
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Molly C. Dwyer
Clerk of Court AUG 2 2024

MOLLY C. DWYER, CLERK
U.S. COURT OF APPEALS

DOCKETING NOTICE
Docket Number: 24-4749
Originating Case Number: 4:23-cv-00185-JGZ
Short Title: Doe, et al. v. Horne, et al.
Dear Appellant/Counsel

A copy of your notice of appeal/petition has been received in the Clerk's office of the
United States Court of Appeals for the Ninth Circuit. The U.S. Court of Appeals docket
number shown above has been assigned to this case. You must indicate this Court of
Appeals docket number whenever you communicate with this court regarding this case.

Motions filed along with the notice of appeal in the district court are not automatically
transferred to this court for filing. Any motions seeking relief from this court must be
separately filed in this court's docket.

Please furnish this docket number immediately to the court reporter if you place an order,
or have placed an order, for portions of the trial transcripts. The court reporter will need
this docket number when communicating with this court.

The $605 docketing fee remains due. Failure to correct this deficiency within 14 days
will result in the dismissal of this case for failure to prosecute. See 9th Cir. R. 42-1. The
fee is payable to the district court or the tax court.

Failure of the appellant to comply with the time schedule order may result in
dismissal of the appeal.

Please read the enclosed materials carefully.
